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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


                               )
CONSUMER PRODUCTS ASSOCIATION, )
                               )
                    Plaintiff, )                       No. 1:23-cv-00714 (RJL)
                               )
                v.             )                       DEFENDANT 310 NUTRITION, LLC’S
                               )                       MOTION TO DISMISS THE
310 NUTRITION, LLC,            )                       COMPLAINT
                               )
                    Defendant. )
                               )
                               )

              DEFENDANT 310 NUTRITION, LLC’S MOTION TO DISMISS

       Defendant 310 Nutrition, LLC (“310 Nutrition”), by and through undersigned counsel,

hereby moves the Court to dismiss the Complaint [Dkt. 1-1] filed by Plaintiff Consumer

Products Association’s (“Plaintiff”) for multiple straightforward reasons pursuant to Rule 12 of

the Federal Rules of Civil Procedure.

       First, this case should be dismissed in its entirety because neither Plaintiff nor the

“general public” it seeks to represent suffered a concrete and particularized injury, and Plaintiff

therefore lacks both Article III and statutory standing. Second, Plaintiff’s Consumer Protection

Procedures Act claim should be dismissed because no reasonable consumer would be misled by

310 Nutrition’s alleged failure to disclose the immaterial fact that its All-In-One Meal

Replacement Shakes may contain an amount of Bacillus cereus bacteria that, according to the

references cited by Plaintiff, is so small it poses no possibility of causing human illness. Third,

Plaintiff’s “Failure to Warn Negligence Per Se” claim should be dismissed because Plaintiff has

failed to plausibly plead a statutory violation or any other element to support a negligence claim

under a negligence per se theory.



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       Because Plaintiff cannot cure these deficiencies, the Court should dismiss the Complaint

with prejudice.

       WHEREFORE, for the reasons set for in the accompanying Memorandum of Points and

Authorities, the Court should grant 310 Nutrition’s Motion to Dismiss the Complaint.



Dated: April 7, 2023


                                      /s/ Sascha Henry
                                      Sascha Henry (admitted pro hac vice)
                                      James Glassman (admitted pro hac vice)
                                      SHEPPARD, MULLIN, RICHTER & HAMPTON LLP
                                      333 S. Hope Street, 43rd Floor
                                      Los Angeles, CA 90017
                                      Telephone: (213) 620-1780
                                      Facsimile: (213) 620-1398
                                      shenry@sheppardmullin.com
                                      jglassman@sheppardmullin.com

                                      /s/ Hannah Wigger
                                      Hannah Wigger (D.C. Bar No. 208851)
                                      SHEPPARD, MULLIN, RICHTER & HAMPTON LLP
                                      2099 Pennsylvania Avenue, NW, Suite 100
                                      Washington, D.C. 20006
                                      Telephone: (202) 747-1900
                                      Facsimile: (202) 747-1901
                                      hwigger@sheppardmullin.com

                                      Attorneys for Defendant 310 Nutrition, LLC




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                                 CERTIFICATE OF SERVICE

       On April 7, 2023, I electronically filed the foregoing document through the CM/ECF

system, which will send a notice of electronic filing to the attorneys of record.




                                                              /s/ Sascha Henry
                                                                      Sascha Henry
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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA


                               )
CONSUMER PRODUCTS ASSOCIATION, )
                               )
                    Plaintiff, )       No. 1:23-cv-00714 (RJL)
                               )
                v.             )       DEFENDANT 310 NUTRITION, LLC’S
                               )       MEMORANDUM OF POINTS AND
310 NUTRITION, LLC,            )       AUTHORITIES IN SUPPORT OF ITS
                               )       MOTION TO DISMISS THE
                    Defendant. )       COMPLAINT
                               )
                               )
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       Pursuant to Rules 12(b)(1) and 12(b)(6) of the Federal Rules of Civil Procedure,

Defendant 310 Nutrition, LLC (“310 Nutrition”), moves to dismiss the Complaint filed by

Plaintiff Consumer Protection Association (“Plaintiff”). [Dkt. 1-1] Complaint, (“Compl.”).

                                       INTRODUCTION

       310 Nutrition sells a variety of food products that help consumers improve their overall

health and nutrition. Among 310 Nutrition’s products is its All-In-One Meal Replacement

Shakes that come in a variety of flavors, four of which are at issue here—Chocolate Bliss,

Caramel Sundae, Vanilla Crème, and Horchata (the “Products”). Plaintiff maintains that these

Products present a “significant” and “unreasonable” risk of food poisoning that should have been

disclosed to consumers. But Plaintiff’s own testing and the various authorities referenced or

cited throughout the Complaint tell a very different story.

       Plaintiff attaches to the Complaint test results from KML Laboratories, Inc. (“KML

Labs”) on 310 Nutrition’s Products (the “KML Tests”). The motivation behind this testing is

unclear, as Plaintiff curiously does not allege that any consumers have actually suffered food

poisoning from the Products. Plaintiff’s own testing and authorities cited in the Complaint

explain why—because the Products lack any remote possibility of causing food poisoning. The

KML Tests indicate that each Product may contain less than 10 colony-forming units per gram

(“cfu/g”) of Bacillus cereus (“B. cereus”). According to U.S. Food & Drug Administration

(“FDA”) sources Plaintiff references in the Complaint, B. cereus is a type of bacteria commonly

found in raw and processed foods that may cause food poisoning if present in high

concentrations—i.e., approximately 106 (1,000,000) cfu/g. In other words, the Products are at

best 999,990 cfu/g shy of presenting any conceivable possibility of human food poisoning




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according to Plaintiff’s own authorities. This issue undermines Plaintiff’s entire theory of the

case, cannot be cured by amendment, and warrants dismissal of this case with prejudice.

       Aside from undermining Plaintiff’s entire theory of the case, this more fundamentally

means that Plaintiff lacks both Article III and statutory standing to bring its claims on behalf of

itself or the general public. Plaintiff does not allege that it has suffered any concrete or

particularized injury, and the third-party standing doctrine does not apply if the plaintiff itself

lacks Article III standing. Plaintiff also does not—and cannot—satisfy the requirements for

statutory standing under D.C. Code § 28-3905(k)(1)(D)(i) to bring a Consumer Protection

Procedures Act (“CPPA”) claim on behalf of the general public because the possibility of any

consumer or class of consumers suffering an injury from the Products is far too remote.

       Even if Plaintiff had alleged facts to support standing, Plaintiff also fails to state a claim

under the CPPA for two reasons. First, Plaintiff does not—and cannot—plausibly allege that

reasonable consumers were misled because the test results at best show an amount of B. cereus

so miniscule that the Products have no possibility of causing food poisoning according to the

references cited in the Complaint. Second, Plaintiff fails to plausibly allege that the presence of

small amounts of B. cereus in the Products would be “material” to reasonable consumers.

       Plaintiff’s “Failure to Warn Negligence Per Se” claim fares no better for three reasons.

First, D.C. Code § 48-103(2)(Q)(i) is just a statutory definition, not a statutory duty or liability

standard that actually can be violated. Second, 310 Nutrition did not violate any statute anyway,

as its Products are not adulterated within the meaning of D.C. Code § 48-103(2)(Q)(i). Third,

Plaintiff cannot establish that it is within the class of persons the statute was designed to protect

or that it suffered an injury that the statute was enacted to prevent.

       The Court should thus grant 310 Nutrition’s Motion and dismiss this case with prejudice.




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                                         BACKGROUND

       According to Plaintiff, B. cereus “is a spore-forming, Gram positive, facultative

anaerobic bacterium associated with food poisoning in humans.” Compl. ¶ 14. In October 2022,

despite no indication that the Products were actually causing B. cereus food poisoning, Plaintiff

asked KML Labs to conduct microbiological testing on each of the Products. See id. ¶ 20; see

also Compl. Ex. B (reports of the KML Test results). Three key facts can be gleaned from the

KML Tests. First, each product may contain an amount less than 10 cfu/g of B. cereus. Compl.,

Ex. B at 1-4. Second, KML Labs’ “detection limit” is 10 cfu/g, meaning that KML Labs is

incapable of analyzing any amount of B. cereus in a product unless it exceeds 10 cfu/g. See id.

Third, each B. cereus result also bears a distinct “‡” symbol next to it, which indicates that the

test results “may include work not covered by KML’s current ISO accreditation.” Id.

       Other than the KML Tests, Plaintiff provides no information on several essential topics.

For instance, there is no information on KML Labs’ credentials. There is no information on the

methodologies KML Labs used to test the Products. There is no information on how, when, and

from whom KML Labs received the Products. Without any of this information, and based on the

alleged presence of an amount less than 10 cfu/g of B. cereus in the Products, Plaintiff maintains

that the Products pose a serious risk of human illness and that 310 Nutrition should have warned

consumers. See Compl. ¶¶ 22, 35.

       But Plaintiff’s own authorities referenced or cited in the Complaint suggest a different

conclusion—that the presence of an amount less than 10 cfu/g of B. cereus is too minute to pose

any risk to consumers. For example, FDA’s Bacteriological Analytical Manual (“BAM”)

Chapter 14—referenced in the KML Tests appended to the Complaint—suggests that there must

be at least 106 cfu/g (1,000,000 cfu/g) of B. cereus before there is any risk of human illness.




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[Dkt. # 11-1], Exhibit A (“FDA BAM Chapter 14”). FDA’s Bad Bug Book—cited in Paragraphs

16 and 17, Footnotes 3 and 4 of the Complaint—indicates that there must be at least 105 to 108

cfu/g (100,000 to 100,000,000 cfu/g) of B. cereus for there to be any reasonable possibility of

human illness. [Dkt. # 11-2], Exhibit B, (“FDA Bad Bug Book”). Todar’s Online Textbook of

Bacteriology—cited in Paragraph 15, Footnote 2 of the Complaint—indicates that “B. cereus

food poisoning can be confirmed by the isolation of greater than or equal to 105 B. cereus

organisms per gram.” [Dkt. # 11-3], Exhibit C, (“Todar’s Textbook”). Stated differently,

Plaintiff’s own authorities provide that the Products are at least 99,990 to 99,999,990 cfu/g shy

of carrying any possibility of causing B. cereus food poisoning.1

       In January 2023, despite its apparent failure to conduct a thorough factual investigation,

Plaintiff filed this lawsuit in D.C. Superior Court, asserting two claims. See generally Compl.

Plaintiff’s first claim alleges that 310 Nutrition violated the CPPA by “falsely and deceptively

misrepresent[ing] . . . that the Products are safe for consumption.” Id. ¶¶ 26-32. Plaintiff’s

second claim alleges that the Products “present[] a significant or unreasonable risk of illness”

which constitutes “Failure to Warn Negligence Per Se.” Id. ¶¶ 33-42. 310 Nutrition timely

removed to this Court in March 2023, [Dkt. 1], and now moves to dismiss Plaintiff’s Complaint

with prejudice under Federal Rules of Civil Procedure 12(b)(1) and 12(b)(6).




1
 The Court should consider each of the documents cited in this paragraph, and attached hereto as
Exhibits A, B, and C, because they are incorporated by reference into the Complaint. See Am.
Oversight v. Biden, 2021 WL 4355576, at *2 n.3 (D.D.C. Sept. 24, 2021) (Leon, J.) (“[I]n
considering a motion to dismiss, courts may consider . . . documents attached as exhibits
or incorporated by reference in the complaint.”); Tefera v. OneWest Bank, 19 F. Supp. 3d 215,
221-22 (D.D.C. 2014) (considering documents appended to and incorporated by reference into a
complaint, which did not convert a motion to dismiss into a motion for summary judgment).


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                                        LEGAL STANDARD

        To withstand a motion to dismiss for lack of standing under Rule 12(b)(1) of the Federal

Rules of Civil Procedure, a complaint must meet the “irreducible constitutional minimum of

standing”: (1) injury in fact, (2) traceability, and (3) redressability. Lujan v. Defs. of Wildlife,

504 U.S. 555, 560 (1992). Pertinent here, a plaintiff’s claims must “spring from an injury in fact

- an invasion of a legally protected interest that is concrete and particularized, actual or

imminent.” Williams v. Lew, 77 F. Supp. 3d 129, 132 (D.D.C. 2015) (Leon, J.) (internal

quotation marks omitted). Allegations of standing are subject to “closer scrutiny” than usually

employed for a Rule 12(b)(6) motion. Grand Lodge of the FOP v. Ashcroft, 185 F. Supp. 2d 9,

13-14 (D.D.C. 2001). However, like a Rule 12(b)(6) motion, courts are not required to “assume

the truth of legal conclusions” or to “accept inferences that are unsupported by the facts set out in

the complaint.” Arpaio v. Obama, 797 F.3d 11, 19 (D.C. Cir. 2015).

        A complaint is properly dismissed under Rule 12(b)(6) of the Federal Rules of Civil

Procedure if its factual allegations fail “to state a claim to relief that is plausible on its face” and

“raise a right to relief above the speculative level.” Bell Atl. Corp. v. Twombly, 550 U.S. 544,

555 (2007). While material factual allegations are accepted as true, “[t]hreadbare recitals of the

elements of a cause of action, supported by mere conclusory statements, do not suffice.” Ashcroft

v. Iqbal, 556 U.S. 662, 678 (2009). Thus, “[w]here a complaint pleads facts that are merely

consistent with a defendant’s liability, it stops short of the line between possibility and

plausibility of entitlement to relief.” Id. .

        Plaintiff’s Complaint is properly dismissed on application of these standards.




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                                             ARGUMENT

I.        Plaintiff Lacks Constitutional and Statutory Standing Because Neither Plaintiff Nor
          the General Public It Seeks to Represent Suffered an Injury.

          Plaintiff leans on a slew of speculative inferences and unsupported assumptions that fall

well short of pleading a plausible injury to support either Article III standing or statutory

standing under the CPPA. Based on Plaintiff’s allegations, the KML Tests appended to the

Complaint, and Plaintiff’s own authorities cited or referenced in the Complaint, it is evident that

neither Plaintiff nor the general public suffered—or even could suffer—a plausible injury. As

such, Plaintiff lacks both Article III standing and statutory standing under the CPPA, and the

Court should dismiss the Complaint with prejudice.

          As this Court has previously stated, “There is no standing where a court would have to

accept a number of very speculative inferences and assumptions.” Physicians Comm. for

Responsible Med. v. Vilsack, 867 F. Supp. 2d 24, 28 (D.D.C. 2011) (Leon, J.) (internal quotation

marks omitted). This applies with particular force to the injury in fact requirement. See Id. To

withstand a motion to dismiss for lack of Article III standing, a plaintiff must plausibly plead an

injury that is “concrete and particularized” and “actual or imminent, not conjectural or

hypothetical.” Friends of the Earth, Inc. v. Laidlaw Envtl. Servs., Inc., 528 U.S. 167, 180

(2000). In other words, the injury must be sufficient to vest the plaintiff with “a personal stake in

the outcome of the controversy.” Warth v. Seldin, 422 U.S. 490, 498 (1975).

          An organizational plaintiff can assert Article III standing either on its own or on behalf of

its members.2 Conference of State Bank Supervisors v. Office of the Comptroller of the

Currency, 313 F. Supp. 3d 285, 295 (D.D.C. 2018). If asserted on its own behalf, courts

“conduct the same inquiry as in the case of an individual.” Havens Realty Corp. v. Coleman,


2
    Plaintiff does not allege that it has any members, much less that any of them were injured.


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455 U.S. 363, 378-79 (1982). At bottom, an organization must prove that the defendant’s actions

“perceptibly impaired” the organization’s services or caused a “concrete and demonstrable injury

to the organization’s activities.” Id. at 379. However, a simple “conflict between a defendant’s

conduct and an organization’s mission is alone insufficient to establish Article III standing.” Ctr.

for Law & Educ. v. Dep’t of Educ., 396 F.3d 1152, 1161 (D.C. Cir. 2005).

       An organizational plaintiff also generally cannot rely on the alleged injuries of the

general public to establish standing. For example, the third-party standing doctrine requires the

plaintiff to have standing in his or her own right. See Turner v. U.S. Agency for Glob. Media,

502 F. Supp. 3d 333, 357 n.13 (D.D.C. 2020) (“Plaintiffs’ assertion of third-party standing does

not excuse their burden to establish that they have Article III standing in their own right.”). And

although D.C. Code § 28-3905 provides a grant of statutory standing for an organization to bring

CPPA claims “on behalf of the general public” under certain circumstances, it does not relieve

the organization of its burden to prove that a “consumer or class could bring an action” under the

CPPA in their own right. See D.C. Code § 28-3905(k)(1)(D)(i).

       Here, Plaintiff fails to allege that it suffered any injury—much less a concrete or

particularized one—and thus lacks Article III standing to pursue its negligence claim. The only

potential source of injury that can be gleaned from the Complaint is that the Products may

contain B. cereus, which can cause food poisoning if sufficiently concentrated. See Compl.

¶¶ 14, 20, 35. But Plaintiff is a non-profit organization that cannot suffer from food poisoning

itself. Even accepting as true Plaintiff’s demonstrably false assertion that the Products somehow

could cause consumers to suffer from food poisoning, Plaintiff cannot show any perceptible

impairment to its services or activities as a result. See Havens Realty Corp., 455 U.S. at 379. A

simple conflict between 310 Nutrition’s alleged misconduct and Plaintiff’s purported consumer




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protection mission “is alone insufficient to establish Article III standing.” See Ctr. for Law &

Educ., 396 F.3d at 1161. Without standing in its own right, Plaintiff also cannot invoke the

third-party standing doctrine to sue on behalf of the general public either. See Turner, 502 F.

Supp. 3d at 357 n.13. Plaintiff therefore lacks Article III standing to bring its negligence claim

on its own behalf or on behalf of the general public.

       Plaintiff also lacks statutory standing to bring a CPPA claim on behalf of the “general

public of the District of Columbia,” Compl. ¶¶ 10-11, because Plaintiff cannot point to a

consumer or a class of consumers that could bring this action in their own right as D.C. Code

§ 28-3905(k)(1)(D)(i) requires. Plaintiff’s conception of injury to a consumer or class a class of

consumers impermissibly builds on “a number of very speculative inferences and assumptions.”

Vilsack, 867 F. Supp. 2d at 28. For example, Plaintiff claims that the Products contain less than

10 cfu/g of B. cereus, a bacteria that can cause food poisoning in sufficient concentrations. See

Compl. ¶¶ 14, 20; Compl., Ex. B. But the KML Tests appended to the Complaint do not

establish that the Products actually contain sufficient amounts of B. cereus to support a CPPA

claim. The KML Tests show that KML Labs is incapable of actually analyzing B. cereus in a

product unless it exceeds KML Labs’ detection limit of 10 cfu/g. See Compl., Ex. B at 1-4; see

also Int’l Union of Pure & Applied Chemistry, Compendium of Chemical Terminology 399 (2d

ed. 1997) (defining a “detection limit” as the “minimum single result which can be distinguished

from a suitable blank value. The limit defines the point at which the analysis becomes possible”).

KML Labs was also careful to note with a distinct “‡” symbol that its B. cereus results “may”

not fall within KML Labs’ ISO accreditation. Compl., Ex. B at 1-4. In other words, Plaintiff

speculates and assumes that the Products actually contain a sufficient amount of B. cereus to




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support a CPPA claim even though Plaintiff’s chosen lab cannot analyze B. cereus content under

10 cfu/g and may not be accredited to test for B. cereus in any event.

       Even accepting as true that there is an amount less than 10 cfu/g of B. cereus present in

each Product, Plaintiff then makes a vast and erroneous inferential leap to the conclusion that the

Products therefore pose a significant risk of causing human illness. See Compl. ¶¶ 21-23, 35.

However, Plaintiff’s own authorities make clear that B. cereus “is commonly found . . . in many

raw and processed foods” and that an amount less than 10 cfu/g of B. cereus is not remotely

capable of causing human illness. See FDA BAM Chapter 14 (indicating that “B. cereus food

poisoning may occur” only when there is at least 106 cfu/g of B. cereus present); accord FDA

Bad Bug Book (indicating that that there must be 105 to 108 cfu/g of B. cereus present to create

any reasonable possibility of human illness); Todar’s Textbook (“The diagnosis of B.

cereus food poisoning can be confirmed by the isolation of greater than or equal to 105 B.

cereus organisms per gram.”). Stated differently, the B. cereus content in the Products would

need to be anywhere from 10,000 to 10,000,000 times greater than alleged to create any potential

for human illness. See FDA BAM Chapter 14; FDA Bad Bug Book; Todar’s Textbook.

Plaintiff’s theory of injury to consumers is therefore implausible and a far cry from the concrete

and particularized injury required for standing. Accordingly, because no consumer or class of

consumers has suffered—or even could suffer—an injury from the Products, Plaintiff also lacks

statutory standing to bring a CPPA claim. See D.C. Code § 28-3905(k)(1)(D)(i).

       In short, Plaintiff lacks Article III standing in its own right because it fails to allege any

concrete or particularized injury that it suffered. Plaintiff also lacks both Article III and statutory

standing to prosecute its claims on behalf of anyone else because the third-party standing

doctrine does not apply and Plaintiff does not meet D.C. Code § 28-3905(k)(1)(D)(i)’s




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requirements. Accordingly, the Court should dismiss the Complaint with prejudice for lack of

standing.

II.     Plaintiff Has Failed to Plausibly Plead a CPPA Claim or a Negligence Claim Under
        a Negligence Per Se Theory.

        A.      Plaintiff’s CPPA Claim Fails as No Reasonable Consumer Was Misled by the
                Immaterial Fact that the Products May Contain Under 10 cfu/g of B. Cereus.

        Plaintiff alleges that 310 Nutrition violated six subsections of the CPPA, but Plaintiff’s

conclusory, scattershot allegations are unsupported by the KML Tests themselves and

undermined by Plaintiff’s own authorities. Compl. ¶ 31 (citing D.C. Code § 28-3904(a), (d), (e),

(f), (f-1), and (h)). Accordingly, the Court should dismiss Plaintiff’s CPPA claim with prejudice.

        Under the CPPA, it is a violation “for any person to engage in an unfair or deceptive

trade practice.” D.C. Code § 28-3904. The CPPA provides several examples of “unfair or

deceptive trade practices,” including, as relevant here: (a) “represent[ing] that goods or services

have a source, sponsorship, approval, certification, accessories, characteristics, ingredients, uses,

benefits, or quantities that they do not have;” (d) “represent[ing] that goods or services are of

particular standard, quality, grade, style, or model, if in fact they are of another;” (e)

misrepresent[ing] . . . a material fact which has a tendency to mislead;” (f) “fail[ing] to state a

material fact if such failure tends to mislead;” (f-1) “use[ing] innuendo or ambiguity as to a

material fact, which has a tendency to mislead;” and (h) “advertis[ing] or offer[ing] goods or

services without the intent to sell them or without the intent to sell them as advertised or

offered.” Id. § 28-3904(a), (d), (e), (f), (f-1), (h).

        Claims for unfair trade practices under the CPPA are “properly considered in terms of

how the practice would be viewed and understood by a reasonable consumer.” Whiting v. AARP,

701 F. Supp. 2d 21, 29 (D.D.C. 2010) (Leon, J.) (quoting Pearson v. Chung, 961 A.2d 1067,

1075 (D.C. 2008)). This inquiry can and should be decided at the motion to dismiss stage where,


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as here, there is no possibility that a reasonable consumer could be misled. See Alicke v. MCI

Communs. Corp., 111 F.3d 909, 912 (D.C. Cir. 1997) (affirming the grant of a 12(b)(6) motion

because the defendant’s “billing practices could not mislead a reasonable customer”); Whiting,

701 F. Supp. 2d at 30 (this Court granting a 12(b)(6) motion because, “[q]uite simply, there is no

misrepresentation here, and no reasonable consumer would have been misled”).

       Moreover, general references to laboratory testing in a complaint is not enough to

withstand a motion to dismiss where, as here, the plaintiff fails to provide any additional details

about the tests. For example, in Myers v. Wakefern Food Group, 2022 WL 603000, *9-10

(S.D.N.Y. Mar. 1, 2022), the court dismissed a complaint alleging that a food product contained

artificial flavoring because the plaintiff failed to provide any details about what the laboratory

tests entailed, the methodology followed, and so on. The court emphasized that merely

referencing laboratory tests in a complaint, without more, did not satisfy the plausibility

standard. Id.; accord Hoffman v. Kraft Heinz Foods Co., 2023 WL 1824795, at *7-8 (S.D.N.Y.

Feb. 7, 2023).

       Here, simply appending the KML Tests to the Complaint falls far short of plausibly

pleading that the Products contain B. cereus in an amount that could possibly give rise to a CPPA

claim. The Complaint vaguely references the KML Tests, Compl. ¶ 20, from which Plaintiff

makes a vast inferential leap to the erroneous conclusion that the mere presence of B. cereus in a

product “poses a risk to consumers’ health.” Id. ¶ 21. Plaintiff fails to provide any information

about KML Labs’ methodology, what the testing entailed, or the significance of the testing. On

their face, the KML Tests show that KML Labs lacks the capacity to actually analyze B. cereus

content unless there is more than 10 cfu/g present, and KML Labs also may not be certified to

test for B. cereus in any event as indicated by “‡” symbol next to each B. cereus result. See




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Compl., Ex. B at 1-4. Without more, Plaintiff has failed to plausibly plead a CPPA claim. See

Myers, 2022 WL 604000,*9, 10; Hoffman, 2023 WL 1824795, *7, 8.

       Under D.C. Code § 28-3904(a), (d) and (h), the apparent thrust of Plaintiff’s allegations is

that 310 Nutrition affirmatively represented that its products are safe for human consumption,

but because the Products allegedly contain an amount less than 10 cfu/g of B. cereus, they are

somehow unfit or unsafe for humans to consume as advertised. See Compl. ¶¶ 20-23, 29;

Compl. Ex. B. But these allegations are belied by Plaintiff’s own sources referenced or cited in

the Complaint. According to FDA, B. cereus is “commonly found in soil, on vegetables, and in

many raw and processed foods.” FDA BAM Chapter 14. However, there is no threat of food

poisoning from B. cereus unless the concentration is at least 10,000 to 10,000,000 times greater

than Plaintiff alleges. See id.; FDA Bad Bug Book; Todar’s Textbook. As such, no reasonable

consumer has been misled because the Products are in fact safe for human consumption even if

they contain an amount less than 10 cfu/g of B. cereus.

       Some claims under the CPPA—i.e., D.C. Code § 28-3904(e), (f), and (f-1)—additionally

require a plaintiff to demonstrate that an omission or affirmative representation is “material.”

See Saucier v. Countrywide Home Loans, 64 A.3d 428, 442 (D.C. App. 2013). Materiality is

governed by a “reasonable person” standard and looks to whether “a significant number of

unsophisticated consumers would find that information important in determining a course of

action.” Id. (internal quotation marks omitted).

       Under D.C. Code § 28-3904(e), (f), and (f-1) Plaintiff appears to contend that 310

Nutrition has failed to disclose the supposedly “material fact” that each product contains an

amount less than 10 cfu/g of B. cereus. See Compl. ¶¶ 19-23, 29-31. As explained above,

Plaintiff’s own authorities make clear that it is simply not possible for the Products to cause food




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poisoning because they allegedly contain an amount less than 10 cfu/g of B. cereus. See FDA

BAM Chapter 14; FDA Bad Bug Book; Todar’s Textbook. As such, no reasonable consumer

would be misled by 310 Nutrition’s alleged failure to disclose this information. Nor is this

information “material” because Plaintiff does not—and cannot—plausibly allege that “a

significant number of unsophisticated consumers would find that information important” in

determining whether or not to purchase the Products. See Saucier, 64 A.3d at 442 (emphasis

added). Accordingly, the Court should dismiss these claims with prejudice because no

reasonable consumer would be misled—much less find this information important in making a

purchasing decision.

       In short, the Court should grant 310 Nutrition’s Motion and dismiss Plaintiff’s CPPA

claim with prejudice because Plaintiff cannot plausibly allege that any reasonable consumer

would be misled by 310 Nutrition’s supposed failure to disclose the immaterial fact that the

Products may contain an amount less than 10 cfu/g of B. cereus.

       B.      Plaintiff Fails to Plausibly Plead Any Element of Its Negligence Claim Under
               a Negligence Per Se Theory.

       Plaintiff next asserts that 310 Nutrition is negligent per se because it “violated D.C. Code

§ 48-103(Q)(i)3 and was negligent.” Compl. ¶ 37. Aside from being riddled with conclusory

allegations and failing to plausibly plead any element of a negligence cause of action, this claim

also shares the same fatal flaws as Plaintiff’s CPPA claim given the complete impossibility of

human illness from consuming less than 10 cfu/g of B. cereus according to the sources cited in

the Complaint. As a result, the Court should dismiss Plaintiff’s negligence claim with prejudice.




3
 310 Nutrition assumes that Plaintiff intended to cite D.C. Code § 48-103(2)(Q)(i), which
appears to track the language quoted in Paragraph 35 of the Complaint.


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        As an initial matter, “negligence per se is not in and of itself a separate legal claim -

rather, it permits a plaintiff under certain circumstances and under specified conditions, to rely

on a statute or regulation as proof of the applicable standard of care.” Hunter v. District of

Columbia, 64 F. Supp. 3d 158, 188-89 (D.D.C. 2014). To sidestep the burden of pleading the

duty and breach elements of a traditional negligence claim, a plaintiff relying on the negligence

per se doctrine must demonstrate that: (1) there was a violation of a statute designed to promote

safety; (2) the plaintiff is within the class of persons the statute was designed to protect; and (3)

the resulting injury was “the type of risk against which the statute was designed to protect.” See

Ersado v. Rockpoint Grp., LLC, 2023 WL 2705781, *3 (D.D.C. Mar. 29, 2023). However, none

of these negligence per se requirements relieve a plaintiff from the burden of also pleading

proximate causation and injury. See Hunter, 64 F. Supp. 3d at 189.

        Here, Plaintiff’s negligence claim flounders at every step. First, Plaintiff fails to plead a

statutory violation. The apparent gist of Plaintiff’s conclusory allegations is that 310 Nutrition

violated D.C. Code § 48-103(2)(Q)(i) because each Product allegedly contains an amount less

than 10 cfu/g of B. cereus. See Compl. ¶¶ 20, 35, 37. D.C. Code § 48-103(2)(Q)(i) just sets

forth a statutory definition of “adulterated articles,” not a statutory duty or liability standard that

actually can be violated. Section 48-103(2)(Q)(i) defines an adulterated article as a “dietary

supplement . . . [t]hat presents a significant or unreasonable risk of illness or injury.” Even

assuming that a statutory definition could operate as a liability standard for negligence per se

purposes, Plaintiff does not—and cannot—plausibly allege that the Products are adulterated, nor

has Plaintiff explained why the Products are even “dietary supplement[s]” under the statute.

Once again, the KML Tests do not plausibly allege that there is an amount of B. cereus sufficient

to cause illness given KML Labs’ detection limitations and possible lack of ISO accreditation.




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See Compl., Ex. B at 1-4. But even taken at face value, Plaintiff’s own authorities make clear

that there is no risk of illness or injury—much less a “significant” or “unreasonable” risk—from

consuming an amount less than 10 cfu/g of B. cereus. See FDA BAM Chapter 14; FDA Bad

Bug Book; Todar’s Textbook. This fundamental flaw cannot be cured by amendment and alone

justifies dismissal with prejudice of Plaintiff’s negligence claim.

       Second, Plaintiff does not allege that it is within the class of persons the statute was

designed to protect. Nor can it. The D.C. Food Regulation Act of 2002—which implemented

D.C. Code §§ 48-101, et seq.—indicates that the statute was designed to “safeguard the public

health” and to ensure the safety of food products “provided to consumers.” 2001 D.C. Sess. L.

Serv. 1 (West 2001). As a corporate entity, Plaintiff thus falls outside the statute’s protective

umbrella. Although Plaintiff purports to bring this claim on behalf of “[m]embers of the public,”

Compl. ¶ 41, Plaintiff points to no statutory or other grant of authority—and 310 Nutrition has

found none—that would permit Plaintiff to bring a common law cause of action on behalf of the

general public.

       Third, Plaintiff fails to plead proximate causation and an injury stemming from the type

of risk that the statute was designed to prevent. Both are essential elements of Plaintiff’s claim.

See Hunter, 64 F. Supp. 3d at 189. Instead, Plaintiff contends that 310 Nutrition “was

negligent,” that members of the public have “suffered injury,” and that there was “harm caused

by 310 Nutrition.” Compl. ¶¶ 37, 40-41. The Court should disregard these wholly conclusory

allegations. See Iqbal, 556 U.S. at 678. But at a more fundamental level, Plaintiff is a corporate

entity that can suffer only monetary losses, not the physical illness or injury contemplated by

D.C. Code § 48-103(2)(Q)(i). This means that Plaintiff simply cannot suffer an injury stemming

from a risk the statute was designed to prevent. See 325-343 E. 56th St. Corp. v. Mobil Oil




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Corp., 906 F. Supp. 669, 687 (D.D.C. 1995) (granting motion to dismiss because the statute at

issue was designed “to protect the public from the harm of contaminated drinking water, not to

protect a certain class of persons seeking to recover monetary losses” (citation omitted)).

       In short, Plaintiff’s claim for “Failure to Warn Negligence Per Se” should be dismissed

with prejudice because (1) it rests on the same flawed theory as Plaintiff’s CPPA claim that an

amount less than 10 cfu/g of B. cereus can cause human illness, and (2) Plaintiff does not—and

cannot—plausibly plead multiple elements of its negligence claim.

                                            CONCLUSION

       The Court should grant 310 Nutrition’s Motion and dismiss the Complaint with prejudice

because Plaintiff lacks Article III and statutory standing to bring either of its claims and fails to

state a plausible CPPA or negligence claim in any event.

Dated: April 7, 2023

                                      By:      /s/ Sascha Henry
                                               Sascha Henry (Admitted Pro Hac Vice)
                                               James Glassman (Admitted Pro Hac Vice)
                                               Sheppard Mullin Richter & Hampton LLP
                                               333 S. Hope Street, 43rd Floor
                                               Los Angeles, CA 90017
                                               Telephone: (213) 620-1780
                                               Facsimile: (213) 620-1398
                                               shenry@sheppardmullin.com
                                               jglassman@sheppardmullin.com
                                               /s/ Hannah Wigger
                                               Hannah Wigger (D.C. Bar No. 208851)
                                               Sheppard, Mullin, Richter & Hampton LLP
                                               2099 Pennsylvania Avenue NW
                                               Washington, D.C. 20006
                                               Telephone: 202-747-1931
                                               Facsimile: 202-747-3817
                                               hwigger@sheppardmullin.com
                                               Attorneys for Defendant 310 Nutrition, LLC




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                                 CERTIFICATE OF SERVICE

       On April 7, 2023, I electronically filed the foregoing document through the CM/ECF

system, which will send a notice of electronic filing to the attorneys of record.




                                                  /s/ Sascha Henry
                                                  Sascha Henry
